       Case 4:20-cv-02254-YGR Document 159-3 Filed 07/31/22 Page 1 of 31




                                                                                                 DC Office
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                                                                                     Washington, DC 20006
                                                                            Email: aaron.modiano@agg.com



                                          January 3, 2022


VIA EMAIL


Geoffrey Sigler, Esq.
Gibson, Dunn & Crutcher LLP
1050 Connecticut Ave., NW
Washington, DC 20036

       Re:     LD et al. v. United et al. Case No. 20-cv-02254-YGR

Dear Geoff:

We are writing in response to your letter of December 20, 2021. Instead of commenting on the
specific search strings that you indicated United intends to use in its search of ESI, we think it is
important to resolve, if possible, two significant areas of disagreement between us.

First, as a follow-up to our letter of December 3, 2021, please confirm that no subpoena will be
required for the requested deposition of Mr. John Haben. Also, please let us know if United will
accept service of Plaintiffs’ subpoena for the deposition of Ms. Sarah Peterson.

Second, it is evident from your letter that the appropriate scope of discovery remains an area of
significant disagreement between the Plaintiffs and United. Plaintiffs’ Second Amended
Complaint [ECF 74], answered by the United defendants on February 26, 2021 [ECF 79], refers
throughout to the disparate reimbursement of IOP treatment with Viant OPR and the
reimbursements for higher levels of care such as detoxification, residential inpatient treatment,
and partial hospitalization program treatment. These references are found, for example, at the
following paragraphs:
     ¶¶ 91-93
     ¶¶ 270-271
     ¶¶ 307-308
     ¶¶ 337-338
     ¶¶ 365-366
     ¶ 379
     ¶¶ 392-393

The stark difference in the reimbursement amounts of higher levels of care, including residential
treatment and partial hospitalization, that were reimbursed as promised during verification calls,




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                                                                                  Geoffrey Sigler
                                                                                  January 3, 2022
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and consistent with plan terms, and the Viant OPR “UCR” reimbursements for IOP treatment fall
are relevant and within the scope of discovery as set out in Rule 26(b). Further, the
reimbursement of higher levels of care are relevant to United’s numerous affirmative defenses
under the same standard.

We are concerned that United’s offer in your December 20, 2021 letter to implement TAR in
conjunction with the search terms attached thereto is a tactic to further delay and stall document
production. Plaintiffs suggested the possibility of using TAR to speed the discovery process on
October 12, 2021 and only received United’s response to this suggestion more than two months
later. Further, Section III of United’s proposed TAR protocol states, “[a] producing Party using
TAR may use search terms, subject to the meet and confer process discussed in II.C and D
above, to cull the universe of documents into the set of documents that shall be subject to the
TAR process (the “TAR Review Set”).” First, as the meet and confer process discussed in the
proposed protocol differs from that required by Chief Magistrate Spero for discovery disputes, it
is unclear that the proposed process would be approved and ordered. Second, as Plaintiffs have
made clear during the many discussions as to discovery and ESI in particular, Plaintiffs have not
agreed to United’s proposed search terms and have never received anything other than opinion of
counsel in response to their suggestions. United has never communicated any concrete results or
information supporting the objections raised to Plaintiffs’ requests. As such, United’s current
proposal is more likely to delay the production of documents than it is likely to expedite it.

With that in mind, Plaintiffs are amenable to the use of a TAR 2.0 protocol by United; however,
in order to avoid further delay and to resolve the issues surrounding United’s numerous
objections to Plaintiffs’ discovery requests that were served last Summer, Plaintiffs propose an
expedited hearing in front of Magistrate Spero as to appropriate search terms, if any, custodians,
and data sources as well as United’s objections in order to meaningfully move the discovery
process forward. As stated by one court, “there are also non-search term ways to do ESI
production, such as Technology Assisted Review (or “TAR,” formerly known as predictive
coding). TAR is also iterative and requires the parties to work together to get documents
produced.” Hardin v. Mendocino Coast Dist. Hosp., No. 17CV05554JSTTSH, 2019 WL
4256383, at *2 (N.D. Cal. Sept. 9, 2019). And by another, “[t]echnology-assisted review of ESI
does require an “unprecedented degree of transparency and cooperation among counsel” in the
review and production of ESI responsive to discovery requests. Progressive Cas. Ins. Co., 2014
WL 3563467, at *10. In this regard, courts typically “have required the producing party to
provide the requesting party with full disclosure about the technology used, the process, and the
methodology, including the documents used to ‘train’ the computer.” Id.” Youngevity Int'l, Corp.
v. Smith, No. 16CV00704BTMJLB, 2019 WL 1542300, at *12 (S.D. Cal. Apr. 9, 2019), report
and recommendation adopted sub nom. Youngevity Int'l v. Smith, No. 16-CV-704-BTM-JLB,
2019 WL 11274846 (S.D. Cal. May 28, 2019). Given the actions taken by United in delaying and
inappropriately redacting the ASAs produced prior to the standard of review briefing, and the
limited, restricted claim data produced by United prior to mediation, Plaintiffs have significant
concerns that United will engage, in good faith, in the transparency required in employing TAR.
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                                                                                     Geoffrey Sigler
                                                                                     January 3, 2022
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The ‘Document Categories’ identified in your letter do not lessen these concerns or provide any
movement to resolution of the dispute between the parties as to the appropriate scope of
discovery. As your letter stated you were preparing proposals to address document requests that
fall into categories other than the initial seven you identified to discuss on our next call, we look
forward to hearing your proposals when we speak on January 4, 2022. However, we expect
Court intervention will be necessary as United continues to take an inappropriately restrictive
and narrow view as to the appropriate scope of discovery, especially with regard to Plaintiffs’
RICO claims. This narrow view includes the time period suggested by United. As recognized by
the Supreme Court Rotella v. Wood, 528 U.S. 549, 555 (2000), it is possible that proof of RICO
predicate acts may be offered for acts occurring ten years before the alleged injury and fourteen
years prior to the commencement of litigation. United has not provided any justification as to
why that would not be the case here.

We look forward to discussing these matters with you tomorrow.


                                                   Sincerely,

                                                   ARNALL GOLDEN GREGORY LLP

                                                   /s/ Aaron R. Modiano
                                                   Aaron R. Modiano
cc: all counsel of record
       Case 4:20-cv-02254-YGR Document 159-3 Filed 07/31/22 Page 4 of 31


                                                                                          Matthew M Lavin
                                                                                                  Partner

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                                                                                        Phone: 202.677.3040
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                                          January 12, 2022


VIA EMAIL

Geoffrey Sigler, Esq.
Gibson Dunn & Crutcher, LLP
1050 Connecticut Ave., NW
Washington, DC 20036

       Re:     LD et al. v. United et al. Case No. 4:20-cv-02254-YGR (ND Cal.)

Dear Geoff,

    As we have discussed on multiple occasions, including our most recent meet and confer,
Plaintiffs will be issuing subpoenas to certain plan sponsors of the putative class members as a
necessary step of class discovery. Below is the current list of plans that Plaintiffs will be issuing
subpoenas to over the next week. Plaintiffs, of course, reserve the right to issue subpoenas to
additional plan sponsors in the future as well as any other necessary and appropriate discovery.
In addition to document subpoenas, plaintiffs will also seek to take the depositions of certain of
the plan sponsors listed below.

    I note that Plaintiffs first requested that United produce information identifying the relevant
plan sponsors in July 2021. United, however, withheld this information from Plaintiffs until
January 4, 2022. Because of United’s extreme delay in producing the information to Plaintiffs,
United’s refusal to include search terms relating to plan sponsors, United’s refusal to incorporate
marketing materials in its documents search, United’s failure to include any plan representatives
as document custodians in its documents search, the looming discovery cut-off dates, and the
distressing fact that United still has not made any substantive document production in this matter
to date, time is of the essence in conducting necessary discovery on third parties, including those
below:

      AMERICAN AIRLINES
      AMERICAN EXPRESS COMPANY
      APPLE INC.
      CISCO SYSTEMS, INC.
      COCA-COLA
      DELOITTE LLP
      DELTA AIR LINES, INC
      DISCOVERY, INC.



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      GENERAL DYNAMICS
      GEORGIA-PACIFIC LLC
      GOLDMAN SACHS & CO. LLC
      JPMORGAN CHASE & CO.
      L'OREAL USA
      MASTERCARD
      MORGAN STANLEY
      NESTLE USA, INC.
      ORACLE, INC.
      PAYPAL, INC.
      RAYTHEON COMPANY
      SALESFORCE.COM, INC.
      TARGET CORPORATION
      TESLA
      UNION PACIFIC CORPORATION
      VIACOM INCORPORATED
      VIACOMCBS CORPORATION
      VMWARE, INC.

   The subpoenas will request the same information we have already discussed, at length, on
multiple calls. Those topics include but are not limited to the following:

      Any and all internal documents, correspondence, or records, from January 1, 2015 until
       present, in Your possession reflecting discussions, whether internal or external, regarding
       United’s Facility R&C savings program. This request includes, but is not limited to,
       discussions regarding the fees charged to You by United for the Facility R&C program.

      Any and all correspondence and documents relating to or discussing the
       adoption/selection of United’s Facility R&C savings program by You for your employee
       healthcare plan(s) from January 1, 2015 to present.

      Documents identifying the individual(s) at Your company responsible for negotiating
       and/or approving changes to your Administrative Services Agreement with United, from
       January 1, 2015 until present.

      Any and all marketing materials, correspondence, presentations, or other materials
       between You and United regarding United’s Facility R&C or similar program for your
       employee healthcare plan(s) from January 1, 2015 to present.

      The Administrative Services Agreements and any amendments thereto relating to Your
       employee healthcare plan(s) administered by United from January 1, 2015 to present,
       including drafts.




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      Any and all documents, internal or external, showing your decision to include United’s
       Facility R&C or similar program in your employee healthcare plan(s) from January 1,
       2015 to present.

      Any and all invoices, bills, and related documents received from or sent to United that
       reflect the fees paid to United for Facility R&C or similar programs in Your healthcare
       plan(s) from January 1, 2015 to present.

      Any and all marketing or ‘pitch’ materials, such as brochures, PowerPoint presentations,
       or other materials You have received from United from January 1, 2015 to present
       relating to United ‘Savings Programs’ for out-of-network provider services. Such
       services include, but are not limited to, United’s Facility R&C program, Viant OPR,
       MultiPlan repricing, United’s Shared Savings Program, and United’s Enhanced Shared
       Savings Program, and any internal and/or external correspondence or other
       communications relating thereto.

      Any and all spreadsheets, claims reports, or similar documents provided to You by
       United from January 1, 2015 to present that contain and/or refer to United’s Facility R&C
       program, Viant OPR, MultiPlan, or similar, as well as any internal correspondence
       relating thereto.

      Any and all internal correspondence, from January 1, 2015 to present, with or concerning
       participants or beneficiaries in Your employee healthcare plan(s) regarding claims for out
       of network treatment for mental health services and/or the Facility R&C or similar United
       programs. This request includes internal communications to, from or concerning Your
       employees or their dependents whose out-of-network behavioral or substance abuse
       healthcare claims may have been paid or priced by the Facility R&C program.

      Any and all documents related to out -of-network ‘savings’, ‘discounts’, ‘discount
       amounts’, and ‘discount type’ allegedly obtained by United for members of your
       employee healthcare plan(s) for out-of-network, mental health services from January 1,
       2015 to present.

      Any and all internal correspondence between You and members of Your employee
       healthcare plan regarding “balance bills” from healthcare providers or similar for out-of-
       network mental health claims from January 1, 2015 to present.

      Any and all internal and external correspondence relating to changes in Your employee
       healthcare plan(s) from January 1, 2015 to present. If You are no longer a customer of
       United, or if United is no longer the Administrator for Your healthcare plan(s), please
       produce any and all internal and external correspondence relating to the termination of
       United as administrator.

      Given the extremely tight timelines for discovery in this matter, we will be issuing
subpoenas early next week. If there are any concerns that you have regarding any personal rights


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or privileges as to United and the material requested above, we are happy to discuss them. See, for
example, 9A Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2459 (3d
ed. 2008 & Supp. Apr. 2020) (“Ordinarily a party has no standing to seek to quash a subpoena
issued to someone who is not a party to the action, unless the objecting party claims some personal
right or privilege with regard to the documents sought.”); see also, Handloser v. HCL Am., Inc.,
No. 19-CV-01242-LHK-VKD, 2020 WL 4700989, at *4 (N.D. Cal. Aug. 13, 2020) (“An adverse
party may not simply object to a subpoena served by its opponent on a non-party.”)

       These subpoenas are tailored such that they will not impose an undue or disproportional
burden on the third parties being subpoenaed as set forth in Fed. R. Civ. P. 45(d)(1). Also, the
material sought from the third parties is well within the scope of discovery set out in Rule 45.


                                                  Sincerely,

                                                  ARNALL GOLDEN GREGORY LLP

                                                  /s/ Matthew M. Lavin
                                                  Matthew M. Lavin
MML:arm

CC: All Counsel of Record




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                                          February 3, 2022


VIA EMAIL


Geoffrey Sigler, Esq.
Gibson Dunn & Crutcher LLP
1050 Connecticut Avenue, N.W.
Washington, DC 20036

        Re:     LD et al. v. United Behavioral Health et al., Case No. 4:20-cv-02254-YGR

Dear Geoff:

       I am writing in response to your letter of February 1, 2022, regarding the third party
subpoenas issued by Plaintiffs. I take issue with all of the points raised in your letter and will
address all of them in turn.

        At the outset, please provide with specificity any privileges as to the United defendants,
not those that may be asserted by the third parties receiving the subpoenas that you are asserting.
Your letter raises vague concerns and does not distinguish between those privileges that may be
asserted by the third parties that received the subpoenas and United. The circumstances under
which a party may move to quash a subpoena directed to a third party are extremely limited. The
law is clear on this point. See, for example, 9A Charles Alan Wright & Arthur R. Miller, Federal
Practice & Procedure § 2459 (3d ed.2013) “Ordinarily a party has no standing to seek to quash a
subpoena issued to someone who is not a party to the action, unless the objecting party claims
some personal right or privilege with regard to the documents sought”; see also Jiae Lee v. Dong
Yeoun Lee, 2020 WL 7890868, at *5 (C.D. Cal. Oct. 1, 2020) (collecting cases); Crispin v.
Christian Audigier, Inc., 2010 WL 2293238, at *5 (C.D.Cal. May 26, 2010) (quoting Wright &
Miller and providing additional citations).

        The narrow exceptions that may exist is when there is a personal right or privilege with
regard to the documents sought (see Jiae Lee at *5). United has not raised any such personal right
or privilege. If you are asserting that one exists, please provide specificity as to the personal rights
or privilege being claimed. Your most recent letter has not identified any.

       The vague assertions made by United appear to relate to information considered
confidential by United. “Defendants have made no showing that their confidential proprietary
commercial information is at risk. However, “only privilege, not confidentiality, is a valid




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                                                                              Geoffrey Sigler, Esq.
                                                                                 February 3, 2022
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objection under Fed. R. Civ. P. 26(b).” Walt Disney Co. v. DeFabiis, 168 F.R.D. 281, 283 (C.D.
Cal. 1996); Nguyen v. Kissinger, 528 F.2d 1194, 1205 (9th Cir. 1975). Any confidentiality
concerns are addressed with the protective order already in place, a copy of which was served
alongside the subpoenas. See, Wells Fargo & Co. v. ABD Ins., 2012 WL 6115612, at *3 (N.D. Cal.
Dec. 10, 2012) (holding that the stipulated protective order adequately protected the parties’
interests in confidentiality); Jiae Lee v. Dong Yeoun Lee, 2020 WL 7890868, at *9 (C.D. Cal. Oct.
1, 2020) (protective order protected Defendant’s interest in keeping the information confidential).
As the “confidential and proprietary information” United asserts in the ASAs it ultimately
produced is subject to the protective order in place, so, too, would material produced by third-
parties. If there are specific confidentiality concerns that you have, please, make those concerns
specific and clear and we will happily review and discuss those concerns.

Next, your assertion that the subpoenas are ‘void’ as Plaintiffs did not send Defendants each,
individual subpoenas prior to their being sent to the third parties is unpersuasive and not supported
by the predominant case law. See, for example, Miller v. Ghirardelli Choc. Co., 2013 WL 6774072,
at *5 (N.D. Cal. Dec. 20, 2013) (declining to quash subpoena in the absence of prejudice);
Vondersaar v. Starbucks Corp., 2013 WL 1915746, at *2 (N.D. Cal. May 8, 2013) (declining to
quash subpoenas where notice was not given until 3 days after service because defendant suffered
no prejudice because it independently learned of the subpoenas soon after they were issued).
United has now received each, individual subpoena, the time for responding to the subpoenas has
not yet passed, and defendants have not suffered any prejudice whatsoever. Plaintiffs have made
Defendants aware of their intent to issue third party subpoenas to individual plans since at least
November, 2021. In Plaintiffs’ December 3, 2021 letter to United, the areas that would be
requested in the third party subpoenas were outlined. The third-party subpoenas were discussed on
multiple meet-and-confers between the parties and In Plaintiffs’ January 12, 2022 letter to
Defendants, plans to be subpoenaed and documents to be requested were specified. The parties
met and conferred on those topics before the subpoenas issued. If you believe any prejudice has
attached, please specify what that prejudice is, as your last letter did not assert that United has
suffered any prejudice.

        Plaintiffs have explained multiple times during our meet and confers the relevance and
need of the documents we are seeking through the third-party subpoenas that have been issued.
The documents Plaintiffs seek from plan sponsors are well within the scope of discovery in this
case. The plans, and the plan sponsors, are either victims of the Defendants’ scheme or unnamed
co-conspirators. This point has been discussed at several meet and confers, including the most
recent meet and confer discussing the third-party subpoenas. The material sought is directly
relevant to both Plaintiffs’ ERISA claims under § 502(a)(3) and Plaintiffs’ RICO claims. Plaintiffs’
are entitled to conduct discovery as to these claims within the broad scope permitted under the
federal rules of civil procedure.

       As discussed during multiple meet and confers and correspondence regarding the
appropriate scope of discovery in this matter, Plaintiffs’ disagree with United’s position that
discovery is strictly limited to the Facility R&C program and is even further limited to specific
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                                                                                Geoffrey Sigler, Esq.
                                                                                   February 3, 2022
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IOP services within the Facility R&C program. Plaintiffs also disagree with United’s position that
discovery as to matters prior to April 2, 2016 exceeds the scope of permissible discovery.

        Further, to the extent that United is in possession of any of the material sought by Plaintiffs
in the subpoenas, United’s discovery responses, ESI terms, and selected custodians exclude such
material and United has made clear it has no intention of producing such material. Plaintiffs’ first
document request to United, served July 2021, requested documents as to ASO plans that
contained United’s ‘cost containment’ programs (requests 54-61, 66-68), the marketing of such
programs (requests 104-107), and the fees charged by United (requests 129, 145-147). Plaintiffs’
third document request, served September 2021, sought invoices and payment records from United
for Facility R&C fees (requests 9, 10, 12, 13), correspondence exchanged with plans relating to
Facility R&C (requests 11, 14), and marketing of Facility R&C (request 28). United has excluded
from its ESI search, both as to search terms and custodians, searches that would be responsive to
these requests. Based on United’s actions taken towards these requests, any overlapping material
requested in the subpoenas is hardly ‘available’ from United. Further, the subpoenas also seek
material that was not prepared by United and is not within United’s custody, care, or control.

       Please let us know if United intends to move to quash the subpoenas that Plaintiffs have
issued so that we proceed to a meet-and-confer and promptly bring this matter to Magistrate
Spero’s attention if the issues between us cannot be resolved.

                                                   Sincerely,

                                                   ARNALL GOLDEN GREGORY LLP

                                                   /s/ Matthew. M. Lavin
                                                   Matthew M. Lavin
      Case 4:20-cv-02254-YGR Document 159-3 Filed 07/31/22 Page 11 of 31




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                                           July 7, 2022


VIA EMAIL


Geoffrey Sigler, Esq.
Gibson Dunn & Crutcher LLP
1050 Connecticut Avenue, N.W.
Washington, DC 20036


       Re:     LD et al. v. United Behavioral Health et al., Case No.: 4:20-cv-02254-YGR-JCS

Dear Geoff:

       This letter is in response to your July 6, 2022 letter regarding the 30(b)(6) depositions of
United Behavioral Health and United Healthcare Insurance Company (collectively “United”):

         First, the “objections and clarifications” of United’s March 23, 2022 letter have been the
subject of multiple meet and confers between the parties, both before and after that date, and the
30(b)(6) notice was also amended after that letter was sent. Further, you have not brought your
“objections” to the attention of the Court utilizing the discovery dispute process. Plaintiffs have
responded to United’s attempts to inappropriately narrow the scope of discovery. Your proceeding
to provide 30(b)(6) witnesses “subject to” the “objections and clarifications” that Plaintiffs have
consistently disputed and that you have never sought a ruling from the Court upon is not in accord
with the rules governing the discovery process and depositions. In essence, United is proceeding
as if there has been a Court order approving its position without ever having actually sought such
an order. Plaintiffs reject United’s attempts to do so, disagree with the “objections and
clarifications”, are proceeding with the 30(b)(6) depositions as noticed, and reserve all rights
thereto, including seeking to redepose United’s witnesses that are unable to address the noticed
deposition topics, including Topic 1 that you specifically mention. Next, as to your statement that
30(b)(6) depositions are not “memory tests”, Plaintiffs are proceeding with the expectation that
United’s 30(b)(6) witnesses will be prepared and knowledgeable as to the topics for which they
are designated to testify.

       Second, Plaintiffs are reserving all rights as to any and all of the noticed topics that Ms.
Paradise, United’s sole designee, is not adequately prepared and knowledgeable on. Given Ms.
Paradise’s deposition testimony in other matters, it seems unlikely that she will be prepared and
knowledgeable as to all of the deposition topics in Plaintiffs’ 30(b)(6) notice. Specifically, Ms.




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                                                                              Geoffrey Sigler, Esq.
                                                                                      July 7, 2022
                                                                                            Page 2

Paradise has previously provided testimony that causes Plaintiffs concern that she will be able to
be adequately prepared and knowledgeable, as required when testifying as a 30(b)(6) designee, as
to the topics regarding Administrative Services Agreements, plan documents, plan language,
MHPAEA parity compliance, underwriting, marketing of United’s out-of-network programs, and
United’s Answers and Affirmative Defenses. This is not an exhaustive list; rather, it is an example
of our concerns as to Ms. Paradise’s ability to be adequately prepared and knowledgeable as the
sole designee regarding all of the noticed topics.

        Third, as discovery is nearing a close, please provide the designee(s) that United will be
producing for United Behavioral Health. Further, as UBH and UHC are distinct entities, as you
have stated and we have discussed, Plaintiffs’ 30(b)(6) notice should not be understood or
interpreted as an “either / or” with regard to topics. To the extent that each entity has knowledge
regarding the noticed topics, Plaintiffs expect that United will provide designee(s) as to those
topics to testify in a prepared and knowledgeable manner. Further, Plaintiffs do not waive any
rights as to the length of the depositions and, if the depositions cannot be completed within seven
hours each, Plaintiffs reserve all rights to continue the depositions until completed.

        Fourth, given the above, Plaintiffs are not certain what is intended by your request to
“allocate time between the two designees”. It seems unlikely that UHC’sp 30(b)(6) deposition will
be completed in less than the seven hours provided by the rules. Your request that her deposition
run from 9am central time to 4pm, followed by the UBH designee from 4:30pm to 6:30pm central,
is well below the record time permitted for depositions and Plaintiffs reserve all rights relating
thereto. Also, Ms. Paradise’s 30(b)(1) deposition is in her individual capacity and separate and
apart from the 30(b)(6) deposition. We do not agree that two hours, 9am central to 11am central,
is likely sufficient for her 30(b)(1) deposition. We are happy to meet and confer to discuss this
further; however, we do not anticipate that the depositions will conclude in less time than permitted
by the rules.

       Kind regards,

                                                  Sincerely,

                                                  ARNALL GOLDEN GREGORY LLP

                                                  /s/ Aaron R. Modiano
                                                  Aaron R. Modiano

ARM:

Cc: all counsel of record




                                           Atlanta • Washington, D.C.
                       Case 4:20-cv-02254-YGR Document 159-3 Filed 07/31/22 Page 13 of 31
Subject: Re: [EXTERNAL] RE: LD/UBH - Letter to Plaintiffs' Counsel
From: "Lavin, Matt" <Matt.Lavin@AGG.com>
Date: 7/15/22, 13:34
To: "Sigler, Geoffrey" <GSigler@gibsondunn.com>
CC: "Aiken, Matthew Guice" <MAiken@gibsondunn.com>

Geoﬀ, I just want to be crystal clear for the record, are you saying United refuses to produce the 1) Shared Savings Reports for all months of the class period
2) copies of United’s invoices for the 6 identiﬁed ASO clients and 3) summary sheet of fees for all sample patient sponsors?

We understand United wishes us to produce back to United any copies of its very own invoices to plan sponsors in our possession and we will. It was our
belief they were already provided to you in our previous production of plan sponsor docs but we are checking.



-Matt


 On Jul 15, 2022, at 11:33 AM, Sigler, Geoﬀrey <GSigler@gibsondunn.com> wrote:


- hide quoted text -



 Counsel – We’ve previously described to you in detailed wri�en le�ers what the United Defendants would be
 producing in response to your several hundred document requests, including our search parameters, and that’s
 what we’ve done. Our produc�ons over the past few months include informa�on on fees, savings, etc., and we’ve
 produced to you the speciﬁc fee summaries and documents we agreed to provide for the six speciﬁc plans in your
 email below. I also understand that Mul�Plan has produced substan�al informa�on on fees and will be making a
 supplemental produc�on today. We are happy to discuss any of this if you have ques�ons, but ﬁring oﬀ
 “demands” in a 12:30 am email on the discovery deadline isn’t the most construc�ve way to engage on these
 issues. I also note that you s�ll haven’t answered the ques�ons we’ve posed to you repeatedly (including in the
 email below) about the categories of informa�on that Plain�ﬀs agreed to produce months ago but we s�ll do not
 have.

 Geoﬀ
 Geoffrey M. Sigler


 GIBSON DUNN
 Gibson, Dunn & Crutcher LLP
 1050 Connecticut Avenue, N.W., Washington, DC 20036-5306
 Tel +1 202.887.3752 • Fax +1 202.530.9635
 GSigler@gibsondunn.com • www.gibsondunn.com

 From: Lavin, Ma� <Ma�.Lavin@AGG.com>
 Sent: Friday, July 15, 2022 12:31 AM
 To: Aiken, Ma�hew Guice <MAiken@gibsondunn.com>; Aaron.Modiano@AGG.com; Cascario, Natalie L. <Natalie.Cascario@AGG.com>; Chris
 Schnieders <CSchnieders@NapoliLaw.com>; Wemhoﬀ, Nicole E. <Nicole.Wemhoﬀ@AGG.com>; Tom.Kelly@AGG.com; ka�e@dllawgroup.com;
 david@dllawgroup.com; Errol.King@phelps.com; Craig.Caesar@phelps.com; Taylor.Crousillac@phelps.com; Ka�e.Mannino@phelps.com
 Cc: Sigler, Geoﬀrey <GSigler@gibsondunn.com>; Richardson, Heather L. <HRichardson@gibsondunn.com>; Blas, Lauren M.
 <LBlas@gibsondunn.com>; Ma�hews, Nicole <NMa�hews@gibsondunn.com>; Spoto, Meredith K. <MSpoto@gibsondunn.com>
 Subject: RE: LD/UBH - Le�er to Plain�ﬀs' Counsel

 [WARNING: External Email]
 Be advised Plain�ﬀs demand, again, that United produce the Shared Savings monthly reports for the en�re class period, as discussed during
 Becky Paradise’s ﬁrst deposi�on on Wednesday. These reports are outstanding almost a year, having ﬁrst been demanded in July of 2021. They
 have been demanded and discussed many �mes since. Plain�ﬀs also demand produc�on of the promised itemized report of Shared Savings fees
 collected from plan sponsors for the sample pa�ents, as well as all invoices sent by United during the class period to Apple, Tesla, Oracle, Union
 Paciﬁc, JP Morgan, and Raytheon during the class period, as met and conferred on many �mes. In fact, United’s agreement to produce the la�er
 materials was an essen�al component of an earlier compromise over a discovery dispute between the par�es.

 Plain�ﬀs reserve all rights.
                 Case 4:20-cv-02254-YGR Document 159-3 Filed 07/31/22 Page 14 of 31
  Matt Lavin                                            image001.jpg
  Partner

  Arnall Golden Gregory LLP
  1775 Pennsylvania Ave NW, Suite 1000
  Washington, DC 20006
  p: 202.677.4959
  Ma�.Lavin@agg.com | bio | linkedin | vcard | website
      image002.jpg


From: Aiken, Ma�hew Guice <MAiken@gibsondunn.com>
Sent: Thursday, July 14, 2022 9:23 PM
To: *** LD Outside Counsel - (External) <LD-outside-counsel-External@gibsondunn.com>
Cc: Sigler, Geoﬀrey <GSigler@gibsondunn.com>; Richardson, Heather L. <HRichardson@gibsondunn.com>; Blas, Lauren M.
<LBlas@gibsondunn.com>; Ma�hews, Nicole <NMa�hews@gibsondunn.com>; Spoto, Meredith K. <MSpoto@gibsondunn.com>
Subject: [EXTERNAL] RE: LD/UBH - Le�er to Plain�ﬀs' Counsel

Counsel,

I am wri�ng to follow-up on the a�ached July 6, 2022 le�er and numerous previous communica�ons, including Geoﬀ Sigler’s discussion with
Ma� Lavin at today’s 30(b)(6)/30(b)(1) deposi�on, regarding documents in Plain�ﬀs’ possession that have not yet been produced. We reserve all
rights.

Best,
Ma�hew

Matthew Guice Aiken


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1050 Connecticut Avenue, N.W., Washington, DC 20036-5306
Tel +1 202.887.3688 • Fax +1 202.831.6089
MAiken@gibsondunn.com • www.gibsondunn.com


From: Aiken, Ma�hew Guice <MAiken@gibsondunn.com>
Sent: Wednesday, July 6, 2022 9:05 AM
To: *** LD Outside Counsel - (External) <LD-outside-counsel-External@gibsondunn.com>
Cc: Sigler, Geoﬀrey <GSigler@gibsondunn.com>; Richardson, Heather L. <HRichardson@gibsondunn.com>; Blas, Lauren M.
<LBlas@gibsondunn.com>; Ma�hews, Nicole <NMa�hews@gibsondunn.com>; Spoto, Meredith K. <MSpoto@gibsondunn.com>
Subject: LD/UBH - Le�er to Plain�ﬀs' Counsel

Counsel,

Please see a�ached correspondence regarding outstanding discovery issues.

Best,
Ma�hew

Matthew Guice Aiken


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the error and then immediately delete this message.

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                  Case 4:20-cv-02254-YGR Document 159-3 Filed 07/31/22 Page 15 of 31
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immediately delete this message.

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                   Case 4:20-cv-02254-YGR Document 159-3 Filed 07/31/22 Page 16 of 31
Subject: RE: LD v United Multiplan - Documents Requested for Prodcution
From: "Lavin, Matt" <Matt.Lavin@AGG.com>
Date: 7/15/22, 00:37
To: Craig Caesar <Craig.Caesar@phelps.com>

Craig and Errol, I note that you have not responded to my email of today or last week concerning documents. Further, Plain�ﬀs reiterate their
demand for the produc�on of Mul�plan’s privilege log, which was promised months ago. That log must necessarily include the documents
Mul�plan is a�emp�ng to claw back from today’s deposi�on of Sean Crandell.

Plain�ﬀs have been prejudiced by Mul�plan’s refusal to produce its privilege log and reserve all rights.

  Matt Lavin
  Partner

  Arnall Golden Gregory LLP
  1775 Pennsylvania Ave NW, Suite 1000
  Washington, DC 20006
  p: 202.677.4959
  Ma�.Lavin@agg.com | bio | linkedin | vcard | website



From: Lavin, Ma�
Sent: Thursday, July 14, 2022 7:52 AM
To: Craig Caesar <Craig.Caesar@phelps.com>; Errol King <Errol.King@phelps.com>; Taylor J. Crousillac <Taylor.Crousillac@phelps.com>; Modiano,
Aaron R. <Aaron.Modiano@AGG.com>; Cascario, Natalie L. <natalie.cascario@agg.com>; Kelly, Tom E. <Tom.Kelly@AGG.com>; Wemhoﬀ, Nicole E.
<Nicole.Wemhoﬀ@agg.com>; Geoﬀrey Sigler <GSigler@gibsondunn.com>; Lauren M. Blas <LBlas@gibsondunn.com>; Ma�hew Guice Aiken
<MAiken@gibsondunn.com>; Nicole Ma�hews <NMa�hews@gibsondunn.com>; Ka�e Spielman <ka�e@dllawgroup.com>; David Lilienstein
<david@dllawgroup.com>; Ka�e Mannino <Ka�e.Mannino@phelps.com>
Subject: LD v United Mul�plan - Documents Requested for Prodcu�on

Good morning, Craig. Following up on Ms. Kienzle’s deposi�on, I am renewing my request for the following and the items discussed in the thread
below. All of these documents are encompassed in previous wri�en RFPs as well:

Please produce:

United Revenue Reports by month for the puta�ve class period, as referred to Ms. Kienzle
United Savings Reports by Month, as referred to by Ms. Kienzle for the puta�ve class period

It is our understanding these are in excel or similar format.

And from my earlier email of last week, please produce:

-Viant and total fee/revenue reports

-Monthly appeal updates (as tes�ﬁed to by Mr. Edwards)
-Quarterly reports for ALL quarters

-40th percen�le projec�ons for UB outpa�ent reduc�ons

-Scheduled mee�ngs agenda (governance, opera�ons and weekly check ins)

-the source data (APC database, SAF, any modiﬁers, etc) for Viant which we would like access to perform a focused search. I note your wri�en
objec�on was not that it’s burdensome, but rather that it’s equally available. Which it is not.

-All emails referencing H0015 or APC or behavioral health or crosswalking, etc, as discussed on the record at the deposi�on.

-the iden��es by plan name of the opt out plans for reduc�on to 40th % who were s�ll being priced at 60th % -recordings of all Viant calls
regrading the named plain�ﬀs.
                  Case 4:20-cv-02254-YGR Document 159-3 Filed 07/31/22 Page 17 of 31
 Matt Lavin
 Partner

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 Ma�.Lavin@agg.com | bio | linkedin | vcard | website



-----Original Message-----
From: Lavin, Ma�
Sent: Friday, July 8, 2022 9:06 AM
To: Craig Caesar <Craig.Caesar@phelps.com>; Errol King <Errol.King@phelps.com>; Taylor J. Crousillac <Taylor.Crousillac@phelps.com>; Modiano,
Aaron R. <Aaron.Modiano@AGG.com>; Cascario, Natalie L. <Natalie.Cascario@AGG.com>; Kelly, Tom E. <Tom.Kelly@AGG.com>; Wemhoﬀ, Nicole
E. <Nicole.Wemhoﬀ@AGG.com>; Geoﬀrey Sigler <GSigler@gibsondunn.com>; Lauren M. Blas <LBlas@gibsondunn.com>; Ma�hew Guice Aiken
<MAiken@gibsondunn.com>; Nicole Ma�hews <NMa�hews@gibsondunn.com>; Ka�e Spielman <ka�e@dllawgroup.com>; David Lilienstein
<david@dllawgroup.com>; Ka�e Mannino <Ka�e.Mannino@phelps.com>
Subject: LD v United Mul�plan

Good morning Craig, just a reminder about the mul�ple document and material requests yesterday. All of which were encompassed in previously
served RFPs. These are crucial materials needed for the corporate and individual deposi�ons of Mul�plan. We are trying to a kid mo�ons to
compel and calling back witnesses.

Also, your privilege log has not been produced.

I’m on a ﬂight but if memory serves some of the key items were:

-Viant and total fee/revenue reports

-Monthly appeal updates (as tes�ﬁed to by Mr. Edwards)
-Quarterly reports for ALL quarters

-40th percen�le projec�ons for UB outpa�ent reduc�ons

-Scheduled mee�ngs agenda (governance, opera�ons and weekly check ins)

-the source data (APC database, SAF, any modiﬁers, etc) for Viant which we would like access to perform a focused search. I note your wri�en
objec�on was not that it’s burdensome, but rather that it’s equally available. Which it is not.

-All emails referencing H0015 or APC or behavioral health or crosswalking, etc, as discussed on the record at the deposi�on.

-the iden��es by plan name of the opt out plans for reduc�on to 40th % who were s�ll being priced at 60th % -recordings of all Viant calls
regrading the named plain�ﬀs.

-Ma�
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                                                                                          Matthew M Lavin
                                                                                                  Partner

                                                                                                  DC Office
                                                                      1775 Pennsylvania Ave. NW, Suite 1000
                                                                                      Washington, DC 20006
                                                                                        Phone: 202.677.3040
                                                                                          Fax: 202.677.3041
                                                                               Email: Matt.Lavin@AGG.com

                                          October 13, 2021


VIA EMAIL

Geoffrey Sigler
Gibson Dunn & Crutcher, LLP
1050 Connecticut Ave., NW
Washington, DC 20036a

       Re:     United Defendants’ Proposed Custodians and Search Terms Relating to Plaintiffs’
               Requests for Production

Dear Geoff,

        Following your correspondence of October 1 and the meet and confer held telephonically
by the parties on October 8, I would like to address the following matters:

        First, as I stated during our meet and confer last Friday, in order to expedite discovery and
mindful of the upcoming mediation, the Plaintiffs are amenable to narrowing the scope of
documents in production for the purposes of mediation and class discovery. Plaintiffs are not
agreeing with the objections that United has raised in response to Plaintiffs’ discovery requests
and are reserving all rights to pursue all material that is properly within the scope of discovery in
this matter. As we have discussed previously, this includes material going back January 1, 2015,
as stated in Plaintiffs’ operative complaint and, potentially, for a period of ten years prior to the
filing of the original complaint as to Plaintiffs’ RICO claims against both United and MultiPlan.

        Second, as to the custodians identified by United, while we believe that these custodians
have relevant information and are the custodians of relevant, responsive material, additional
custodians may be appropriate and revealed during the course of discovery. United is in the best
position to know that appropriate custodians for the material sought by Plaintiffs as it, not
Plaintiffs, is the one actually in possession of the material being sought. Plaintiffs do not agree and
preserve all rights to seek material from additional custodians going forward. Additionally, at this
time, we believe that it is appropriate to include Sarah Peterson (essential), Sachin Shah and Daniel
Schumacher as custodians.

        Third, as to the documents being searched, your correspondence and during our meet and
confer, indicated that the personal e-mails and hard drives of the custodians as well as the “PIG”
drive would be searched for documents. We have no assurance this will be exhaustive. I would
ask you to please discuss with your clients regarding any other locations and services where
responsive material may be stored. For instance, if United were to use SharePoint, ShareFile,
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Microsoft Teams, intranet based applications, cloud based applications or platforms (e.g.
EnterpriseNow, TeamTrack), or other collaborative software or platforms for the management of
projects, review of claims, and communications regarding them, those platforms should be
included in the data sources being reviewed. As to the search terms proposed by United, Plaintiffs’
proposed revisions are attached as Exhibit A to this letter.

       Fourth, as to the specifics of the search, can you please confirm that all material within the
documents searched (e.g. pdf’s, power point presentations, etc.) will undergo OCR and be searched
appropriately? This would include documents that have embedded other files and file types within
them (e.g. a power point presentation that includes chart or diagram imported as an image).

        Fifth, in light of the compressed schedule and in order to reduce the burden on United, the
Plaintiffs are happy to discuss the use of technology assisted review protocols (“TAR”) by United
for the purposes of responding to Plaintiffs’ discovery requests.

        Sixth, your letter does not appear to address the second and third requests for production
that Plaintiffs issued to United. Can you please clarify whether the search terms you proposed were
intended to address Plaintiffs’ second and third requests for production and, if not, how and when
United intends to respond to Plaintiffs’ second and third requests?

       We are happy to discuss this further and are available to meet and confer regarding any of
the above matters. Plaintiffs reserve all rights.

                                                  Best Regards,

                                                  ARNALL GOLDEN GREGORY LLP



                                                  Matt Lavin

MML:arm

CC: All Counsel of Record
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                                         Schedule A

                                  Proposed Search Terms

 1.   “Facility R&C” or “Facility Reasonable & Customary” or “OFR” or “outpatient facility
      reimbursement” or “Viant” or “OPR” or “UCR” or “UNC” or “U&C” or “Fac R&C”or
      “R&C”or “FRC”

 2.   (“MultiPlan” or “Multi Plan” or “MP” or “MPI” or “Viant”) and (“meeting”)

 3.   (“Bernard Siskin” or “Siskin”)

 4.   (“change” or “reduce” or “reduction”) n/3 (“percentile” or “pricing”)

 5.    (“reimbursement” or “Viant” or “OPR” or “fac*” or “reasonable” or “customary” or
      “R&C”) n/5 (“Benchmark”)

 6.   (“MultiPlan” or “Multi Plan” or “MP*” or “Viant”) and n/5 (“meeting” or “report” or
      “annual” or “quart*” or “q1” or “q2” or “q3” or “q4” or “monthly”)

 7.   (“Fac*” or “OFR” or “outpatient” or “intensive” or “Viant” or “OPR”) and (“Savings” or
      “IOI”)

 8.   ((“Fac*” or “Reasonable” or Customary” or “OFR” or “outpatient”or “Viant” or “OPR”)
      n/5 (“IOP” or “outpatient”)

 9.    (“Fac*” or “Reasonable” or Customary” or “OFR” or “outpatient facility
      reimbursement” or “Viant” or “OPR”) n/5 (“Summary Plan Description” or “SPD” or
      “Certificate of Coverage” or “COC” or “benefit plan language”)

10.   “Edwards, Mark” and “OPR”

11.   “medwards@multiplan.com” and (“fac” or “facility” or “OPR” or “UB”)

12.   Mark.edwards and (“fac” or “facility” or “OPR” or “UB”)

13.   “Kienzle, Jacqueline” and “OPR”

14.   “Jacqueline.kienzle@multiplan.com” and (“fac” or “facility” or “OPR” or “UB”)

15.   “Johnson, Emma” and (“facility” or “fac” or “OPR” or “UB”)

16.   “White, Dale” and (“fac” or “facility” or “OPR” or “UB”)
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17.   “dale.white@multiplan.com” and “fac” and “r&c”

18.   “fac” and “r&c” and “percentile”

19.   “outpatient module”

20.   “OPR Percentile Reduction”

21.   “Facility Reduction”

22.   “Facility claims price”

23.   “competitive position”

24.   “ASO Facility R&C”

25.   “Facility R&C”

26.   “HCE” and “R&C”

27.   “40th percentile”

28.   “OPR Percentile Reduction”

29.   “Fac40*”

30.   “60th percentile”

31.   (“fac” or “facility”) and “R&C” and “IOI”

32.   “facility r&c eligible”

33.   “%” and CMS and (“outpatient” or “R&C”)

34.   (“DiS” or Data iSight”) n/5 “facility”

35.   “OCM ASO”

36.   “quarterly update”

37.   “Multiplan Update for UnitedHealthcare”

38.   ASO and (“facility” or “OPR” or “UB”)
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                                                                                    Page 5

39.   “Meeting” and “agenda” and (“OPR” or “facility”)

40.   “IOP” or “intensive outpatient”

41.   “PAD” or “Patient Advoc*”or “member advocacy”

42.   (Apple or Tesla) and (“Benefit Plan Language” or “EOB”)

43.   (Apple or Tesla) and “SPD”

44.   “MultiPlan Patient Advocacy”

45.   “Patient Advocacy Process”

46.   “Appealed Savings”

47.   “Target Pricing” or “target price”

48.   “MultiPlan Client Portal” or “Pricing Statements”)

49.   “Fac*” and (“Repricing Webservice”)

50.   (“Apple” or “Tesla”) and “fac*”

51.   (“accepted” or “acceptance”) and (“rate” or “price”)

52.   (“appeal” or “appealed”) and (“rate” or “price”)

53.    “Summit Estate”

54.   (“FairHealth” or “FH”) and “Fac*”

55.   “MultiPlan” or “Multi Plan” or “MP” or “Viant”) and (“White” or “Tabak” or “Edwards”
      or “Mohler” or “Ginther” or “Johnson” or “McEttrick” or “Crandell” or “Fuchson” or
      “Kienzle” or “Ralston” or “Dugan”)

56.   (“MultiPlan” or “Multi Plan” or “MP” or “Viant”) and (“Paradise” or “Lopez” or
      “Peterson” or “Bradley” or “Valentine” or “Rickmyer” or “LaMaster” or “Buccini” or
      “Larson” or “Haben” or “Boettner” or “Vandenberg” or “Olsen” or “Booker” or
      “Rosenthal” or “Shah”)

57.   “UB” and (“Viant” or “OPR”)

58.   “Facility” and (“Viant” or “OPR”)
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                                                                          Page 6


59.   “UB” and (“Data iSight” or “DiS” or “Dataisight”)

60.   “Facility” and (“Data iSight” or “DiS” or “Dataisight”)

61.   “H0015”

62.   “S9480”

63.   (“Rev*” or “RC”) and (“*905” or “*906”)

64.   “ASAM” and (“behav*” or “mental” or facility)

65.   “598-6888”

66.   “Apple”

67.   “Tesla”

68.   “Apple” and “savings”

69.   “Tesla” and “savings”

70.   “Apple” and “facility”

71.   “Tesla” and “facility”

72.   “ibaag” and “Apple”

73.   “ibaag” and “Tesla”

74.   (“discount” or “negot*”) n/5 (“multiplan” or “viant”)

75.   “H0015” and “UO”

76.   “H0015” and “CY”

77.   “CY” and “PAD”

78.   “UO” and “PAD”

79.   “UB” and “CY”

80.   “UB” and “UO”
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                                                                                    Page 7


81.   “PAD Update”

82.   “Multiplan” and “quick reference”

83.   “Multiplan” and “methodology overview”

84.   “Multiplan” and “Benefit Plan Language” and “EOB Requirements”

85.   “standard” n/5 “analytic*” n/5 “file”

86.   “SAF” and “Viant”

87.   “Viant” and “Methodology”

88.   “facility edit”

89.   “client portal” and “multiplan”

90.   (“fac*” or “outpatient” or “OP*”) and (“FAIRHealth” or “FAIR health” or “FH” or
      “FAIR” or “R&C”)

91.   (“H0015” or “S9480”) and “provider remittance”

92.   “fac*” n/5 (“plan language” or “SPD” or “COC” or coverage or certificate or “summary
      plan” or “plan”)

93.   (“fac*” or “outpatient” or “OPR”) and “savings”

94.   “OPR”

95.   “OPR” n/2 “percent*”

96.   (“whitepaper” or “white paper”) and (“MultiPlan” or “Multi Plan” or “MPI” or “MP”)

97.   “H0015” and (“iSight” or “DIS” or “Viant” or “MultiPlan”)

98.   (“Facility R&C” or “Facility Reasonable & Customary” or “OFR” or “outpatient facility
      reimbursement” or “Viant” or “OPR” or UCR or UNC or U&C) and (“acceptance” or
      “provider”)

99.   (“Facility R&C” or “Facility Reasonable & Customary” or “OFR” or “outpatient facility
      reimbursement” or “Viant” or “OPR” or UCR or UNC or U&C) and “IOI
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100.   “vend* solution*” and (“IOI” or “internal operating income”)

101.   (“Facility R&C” or “Facility Reasonable & Customary” or “OFR” or “outpatient facility
       reimbursement” or “Viant” or “OPR” or UCR or UNC or U&C) and “appeal”

102.   (“Facility R&C” or “Facility Reasonable & Customary” or “OFR” or “outpatient facility
       reimbursement” or “Viant” or “OPR” or UCR or UNC or U&C) and (“allowed amount”)

103.   (“Facility R&C” or “Facility Reasonable & Customary” or “OFR” or “outpatient facility
       reimbursement” or “Viant” or “OPR” or UCR or UNC or U&C) and “perc*”

104.   (“Remark” or “Code”) and (“CY” or “UO”)

105.   “outlier cost” and “facility”

106.   facility and “behavioral health”

107.   (“behavioral” or “facility”) and (“bench*” or BMP or “target”)

108.   (“behavioral” and ((“balance” or “surprise”) n/3 “bill”)

109.   (“Viant” or “MultiPlan”) and “CMS”

110.   (“behavioral” or “facility”) and “RVU”

111.   (“facility” or “Viant” or “OPR”) and “override”

112.   “CMS threshold” and “UB”

113.   “Viant closure report” or “Viant closures report”

114.   (“outlier cost management” or “OCR”) and (UCR or “R&C” or “U&C” or (“usual” n/2
       “customary”) or (“reasonable” n/2 “customary”) or “UNC”)

115.   “Facility R&C Compare”

116.   “Facility R&C” n/5 (“percent*”)

117.   “Facility” n/3 (“shared savings” or “SSP” or “R&C”)

118.   “Facility” and (“Third Party Payer”)

119.   “Pricing Methodology” and (“R&C” or “SSP” or “shared savings”)
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                                                                                     Page 9

120.   “non-preferred” and (“R&C” or “SSP” or “shared savings”)

121.   (“non-par*”) and (“R&C” or “SSP” or “shared savings”)

122.   (“Package E” or “Package F”) and (“R&C” or “SSP” or “shared savings”)

123.   (“adoption rate”) and (“R&C” or “SSP” or “shared savings”)

124.   “affordability” and (“R&C” or “SSP” or “shared savings”)

125.   (“stand on data” or “SOD” or “stand on decision”) and (“R&C” or “SSP” or “shared
       savings”)

126.   (“stand on data” or “SOD” or “stand on decision”) and “Viant”

127.   “Viant” and “discount utilized”

128.   “balance bill*” and (“R&C” or “SSP” or “shared savings”)

129.   “OON” and “ORS” and “374”

130.   (“Provider” n/3 “Dispute*”) and (“R&C” or “SSP” or “shared savings”)

131.   “Negotiation*” and (“R&C” or “SSP” or “shared savings”)

132.   “Viant” and “educate” and “provider”

133.   “non-network” and (“R&C” or “SSP” or “shared savings”)

134.   “financial report” and (“R&C” or “SSP” or “shared savings”)

135.   (“Talking Points” or “Handout” or “Pitch”) and (“R&C” or “SSP” or “shared savings”)

136.   “Connect to Market” and (“R&C” or “SSP” or “shared savings”)

137.   “Facility Reasonable” and “Report*”

138.   “Benefit Detail Report” and (“R&C” or “SSP” or “shared savings”)

139.   “vended solution” and (“R&C” or “SSP” or “shared savings”)

140.   “priced by Viant”

141.   “member advocacy” and (“R&C” or “SSP” or “shared savings”)
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142.   “Fair Health” and (“R&C” or “SSP” or “shared savings”)

143.   “source of truth” and (“R&C” or “SSP” or “shared savings”)

144.   “Viant” and (“standard operating procedure” or “SOP”)

145.   “FINUC” and (“reasonable” n/3 “customary”)

146.   (“stop loss” or “indemnity”) and (“reasonable” n/3 “customary”)

147.   “RCI” and “UNET”

148.   (“Geozip” or “geographical”) and “R&C”

149.   (“PHCS” or “HIAA”) and “R&C database”

150.   “CASH” and “R&C”
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                                                                                        Matthew M Lavin
                                                                                                Partner

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                                        November 18, 2021


                                           VIA EMAIL

Geoffrey Sigler
Gibson Dunn & Crutcher, LLP
1050 Connecticut Ave., NW
Washington, DC 20036

        Re:    United Defendants’ Proposed Custodians and Search Terms Relating to Plaintiffs’
               Requests for Production

Dear Geoff,

        Following your firm’s correspondence of November 15 and our meet and confer of
November 16, 2021, I would like to address and make clear Plaintiffs’ position as to the matters
you raised therein:

        As I stated during our meet and confer and have stated many times during our discussions
regarding United’s discovery obligations, it is United, not Plaintiffs, that has the best knowledge
of its own systems, both current and legacy. While Plaintiffs want to assist however possible in
streamlining the discovery process, ultimately, it is United, not Plaintiffs, that is in the superior
position of determining how to respond fully to Plaintiffs’ discovery requests. We do not agree
that your most recent proposed list of search terms will satisfy United’s obligations to fully
respond to our various discovery requests, and we reserve all rights, waiving nothing.

        Since there has been disagreement over the appropriate custodians, can you please clarify
United’s current position as to the appropriate document custodians? Plaintiffs had proposed
custodians in addition to those initially proposed by United, and it remains unclear exactly where
we stand on this. Also, as John Haben has recently retired from United, can you please confirm
that he and his replacement are both included as custodians? Please also identify the name of his
replacement and the name of the individual to whom Rebecca Paradise now reports.

        Further, I am disturbed by the implication from your last letter that United has not begun
to search any of its data stores for responsive documents. Our first request was served on United
back in July, 2021, and it would be in extreme bad faith if there have been no attempts to locate
responsive documents to date. However, I fear this to be the case as United has not made even a
partial production of documents other than what was included in its initial disclosures and those
documents that had relevancy to the briefing as to the appropriate, ERISA standard of review. As

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we had discussed and agreed previously that discovery would occur in a phased manner, I had
anticipated that something relevant to the substantive discovery requests propounded by
Plaintiffs would have been produced. It has not been, and United still cannot commit to a certain
date for the claims reports that should have been produced months ago.

        Your November 15, 2021, letter states, “[w]e anticipate that these terms will return a
substantial number of hits and are making this proposal in an attempt to reach a compromise so
that we can move forward expeditiously.” I understand this to mean that no searches have been
done so far and that you do not know what search terms will have ‘hits’ and have not reviewed
even a sampling of ‘hits’ for relevancy. If this is incorrect, please let me know. Next, I also take
this to mean that you have not evaluated any of the 150 search strings proposed by Plaintiffs in
our October 12, 2021, letter to you. Without having actually undertaken any searching of data, it
is impossible to know how many ‘hits’ the search strings will have and to what extent those
strings return relevant documents. We are happy to continue to discuss appropriate search terms;
however, to have a meaningful exchange, we need to have a discussion based upon data and not
your speculations. Without any data, it is impossible to know whether the terms we proposed in
October are sufficient, whether the terms your November 15 letter proposed are sufficient, or if
additional searches are needed. Plaintiffs will not blindly agree that your speculations on search
terms will appropriately respond to our discovery requests. Plaintiffs are also unclear which
terms on our non-exhaustive list of suggested terms you have discarded and which you have
included.

       Finally, can you please provide additional clarity into the data locations / stores that will
be searched for responsive documents? You had originally indicated that only the “PIG” drive at
United would be searched for ESI, and it is my understanding that there are additional systems
within United, including production systems, that would have relevant and responsive
documents.

       We are happy to discuss this further and are available to meet and confer regarding any of
the above matters.

                                                  Best Regards,

                                                  ARNALL GOLDEN GREGORY LLP



                                                  Matt Lavin

CC: All Counsel of Record




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                                       November 29, 2021


VIA ELECTRONIC MAIL

Craig Caesar, Esq.
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365 Canal Street
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New Orleans, LA 70130-6534
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       Re:     LD et al. v. United et al., Claims Reports and Discovery Matters

Dear Craig,

In follow-up to our discussion regarding the custodians that MultiPlan will be searching for
purposes of identifying documents responsive to Plaintiffs’ discovery requests, the custodians
that had been initially suggested by Plaintiffs relevant to class discovery are:

      Dale White
      Jaqueline Kienzle
      Mark Edwards
      Emma Johnson
      Michael McEttrick
      Sean Crandell
      Susan Mohler

Two additional custodians that we believe should also be included, because of their particular
roles with Viant during the disputed period, are:

      JR Moss
      Karen Beckstead

Based on our discussion of November 18, 2021, I understood that MultiPlan has not yet begun its
ESI search. This, and the fact that MultiPlan will have a much smaller set of documents when
compared to United, indicates that these additional custodians should not significantly increase
the burden on MultiPlan in its document production.




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Our suggestions as to custodians are just that, suggestions, as MultiPlan is the entity that is
actually in possession of the requested material and our input is meant to assist in the process. By
suggesting the above custodians, we do not agree that they are all of the necessary and
appropriate custodians to appropriately respond to Plaintiffs’ discovery. To that end, we continue
to reserve all rights with regard to discovery.

We have also conducted an initial review of the claims data produced to us by MultiPlan on
November 19, 2021 and would request clarification on several points with regard to it. At the
outset, a data or field glossary would be helpful as to both the field headings and values. For
instance, for the fields ‘ADMISSIONDATE’ and ‘DISCHARGEDATE’, are these values that
correspond to dates of service in the EDI sent by United to MultiPlan, or are they system
generated or calculated, or are they something else entirely? Also, some fields are completely
blank, e.g. ‘PATIENT_ID’ while other fields, e.g. ‘UNC’ and ‘PCTILE’ have some instances
with data and others without. Further information as to why this would be the case would be
appreciated.

Further, our discovery request for claims data included requests for the Fair Health 70 th and 80th
percentile of charge data as well as the underlying data used by MultiPlan to price the claims.
Please let us know when this will be forthcoming as well as when we can expect additional
document productions.

Should you wish to discuss this matter further, we are available to do so.

                                                   Sincerely,

                                                   ARNALL GOLDEN GREGORY LLP

                                                   /s/ Aaron R. Modiano
                                                   Aaron R. Modiano
                                                   Of Counsel

CC: all counsel of record




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